       Case 1:10-cr-03383-WJ         Document 273        Filed 07/24/12     Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                         Case No. 10-cr-3383 WJ


ELIZABETH D. KUPFER, and
JOSEPH KUPFER,


               Defendants.

                        MEMORANDUM OPINION AND ORDER
                      REGARDING PENDING PRE-TRIAL MOTIONS

       THIS MATTER comes before the Court upon various motions, including motions in

limine and objections to exhibits, which the Court addressed at a hearing held July 23, 2012.

The Court ruled on these motions as follows: The following are the Court’s rulings on these

motions:

I.     United States’ Consolidated Motions to Compel Discovery, for Daubert Hearings, and to
       Exclude Evidence Pursuant to Federal Rules of Evidence and Federal Rules of Criminal
       Procedure as to Counts 9-11 (Doc. 141).

       In this motion, the Government contends that it did not receive sufficient disclosure

regarding a defense expert, in order to determine whether that experts meets the requirements of

expert testimony under Daubert v. Merrell Dow Pharmeceuticals, Inc., 509 U.S. 579 (1993) and

Federal Rules of Evidence 702 and 704. The expert at issue here is tax attorney T. Scott Tufts.

Mr. Tufts will opine that Lawrence Hess, the Kupfers’ tax preparer, failed to examine KC’s

underlying business documents, such as bank statements, KC’s business books and records after
       Case 1:10-cr-03383-WJ         Document 273        Filed 07/24/12      Page 2 of 10




he became aware of a tax delinquency problem.1

       Defendants contend that their response to the motion (Doc. 157) sufficiently advises the

Government of the information they are required to disclosure under Fed.R.Crim.P. 16, and that

they are obliged only to provide the Government with a summary of Mr. Tufts’ opinion.2

       Mr. Tufts testified as a witness, and was cross-examined by the Government. At the

conclusion of the testimony, the Government stated that it found Mr. Tufts to be qualified and

further, had no objections relative to a Daubert inquiry. The Court therefore found Mr. Tufts to

be qualified as a tax lawyer, and that he would be allowed to give opinion testimony within the

parameters of the opinion he stated on the witness stand at the hearing. The Government’s

motion is therefore DENIED AS MOOT.

II.    Objections to Government’s Proposed Experts (Re: Doc. 58) by Elizabeth Kupfer (Doc.
       82) and Defendant Joseph Kupfer’s Motion for Daubert Hearing and/or, in the
       Alternative, Motion for Rule 16 Disclosure, and/or, in the Alternative, Motion to Exclude
       Proposed Expert Testimony (Doc. 143).

       These motions concern the Government’s two IRS Agent witnesses, Agent Lee O’Rear

and Agent Crystal Chavez. Defendants seek to exclude these witnesses because the Government

failed to make appropriate expert witness disclosures under Fed.R.Crim.P. 16.

       At the hearing, the Court ruled that Defendants’ objections were overruled, noting that

there is some support in the case law that IRS agents could testify as a summary witness without

being designated as an expert, although the law was not entirely clear. See U.S. v. Stierhoff, 549

F.3d 19, 27-28 (1st Cir. 2008) (finding no error where the district court allowed the testimony of



       1
           “KC” stands for “Kupfer Consulting,” which is the business owned by Defendants.
       2
        At the hearing, counsel for Defendant Joseph Kupfer indicated that he joined in
Defendant Elizabeth Kupfer’s motions.

                                                2
       Case 1:10-cr-03383-WJ          Document 273        Filed 07/24/12      Page 3 of 10




an IRS agent as a “summary witness” without qualifying him as an expert). Thus, the agents

may testify at trial as fact witnesses under Rule 701. In the alternative, the Court also found that

even if Agents Chavez and O’Rear should be designated and qualified as experts under Rule 16,

the Government has met its disclosure obligations under Rule 16.

       Finally, the Court concluded that a full-blown Daubert hearing is not necessary in order

for the Court to fulfill its gatekeeping role under Rule 702. See Compton v. Subaru of America,

Inc., 82 F.3d 1513, 1518-19 (10th Cir.), cert. denied, 117 S.Ct. 611 (1996) (Daubert is applicable

“only when a proffered expert relies on some principle or methodology, and that it is

unwarranted in cases where expert testimony is based solely upon experience or training).

Agents Chavez and O’Rear used mathematical calculations and standard IRS forms available to

all taxpayers, and which did not involve the use of any untested or unique methodology that

would require a hearing.

III.   Defendant Elizabeth Kupfer’s Motion in Limine to Preclude Lawrence Hess from
       Testifying as an Expert and to Exclude Exhibits 20 & 21 and Memorandum of Law in
       Support (Doc. 195) and Defendant Joseph Kupfer’s First Motion in Limine to Preclude
       Opinion and/or Expert Testimony from any Witness Not Previously disclosed as a
       Possible Expert Witness (Doc. 198).

       Defendants seek to exclude two exhibits and to exclude any expert opinion from Mr.

Hess, who was Defendants’ CPA and tax preparer. For reasons stated on the record, the Court

ruled that Mr. Hess will be testifying as a fact witness. The Court also ruled that because

Defendants have put Mr. Hess’ standard of practice into issue through the testimony of Mr.

Tufts, Mr. Hess need not be designated as an expert to testify as to his understanding of the

professional standards by which he is governed. Thus, Defendants’ objections were overruled.

       Defendants also seek to exclude two other witnesses, Stuart Bluestone and Kim Akers as

experts. The Court DENIES this motion as moot, since it is clear these witnesses will not be

                                                 3
       Case 1:10-cr-03383-WJ          Document 273        Filed 07/24/12        Page 4 of 10




giving any expert testimony. Ms. Akers will be called as a fact witness to explain the state

process of managed audits. As. to Mr Bluestone, the Government represents that it does intend

to elicit testimony from Bluestone during its case-in-chief related to Bluestone’s legal

background or training, or state law, or the legalities of the HAVA contract.

IV.    United States’ Motion in Limine to Preclude Evidence Regarding Possible Sentence or
       Consequences of Conviction (Doc. 197).

       At the hearing, defense counsel conceded to the Government’s position on this issue,

with which the Court agrees. See United States v. Greer, 620 F.2d 1383, 1384 (10th Cir. 1980)

(The duty of imposing a sentence rests solely upon this Court and is not a proper consideration

for the jury). Thus, the Government’s motion is GRANTED.

VI.    Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Government’s Exhibit 1 and
       Its Corresponding Summary Exhibit (Doc. 184).

       The Court DENIED this motion, finding that the Kupfers’ personal bank records to be

relevant in that they may be used to demonstrate Defendants unexplained wealth and knowledge

of unreported income which exceeded income reported to the IRS. See, e.g., United States v.

Abramson-Schmeiler, 448 Fed.Apx. 837, 839 (10th Cir. 2011); United States v. Thompson, 518

F.3d 832, 850-51 (10th Cir. 2008) (evidence of expenditures that cannot be reconciled with the

amount of reported income is circumstantial evidence of tax evasion). The Court also found that

the evidence was not unfairly or unduly prejudicial.

VII.   Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Evidence of Failure to Pay
       State Gross Receipt Taxes, State Income Taxes and Government’s Exhibits 12, 14, 16
       and 17 and Their Corresponding Summary Charts (Doc. 185).

       Defendant Elizabeth Kupfer seeks to keep out evidence related to KC and its state tax

returns. At the hearing, the Court DENIED the motion, finding the cases cited by the

Government to be persuasive in that the evidence in question was relevant to absence of mistake

                                                 4
        Case 1:10-cr-03383-WJ         Document 273       Filed 07/24/12      Page 5 of 10




and intent. The Court also noted that the level of involvement by Elizabeth Kupfer in the affairs

of KC was a question of the weight of circumstantial evidence which should be argued at trial.

The Court also found that this evidence was not unfairly prejudicial to Elizabeth Kupfer.

VIII.   Defendant Elizabeth Kupfer’s Amended Omnibus Motion in Limine to Exclude Evidence
        Regarding the HAVA Contract, Related Exhibits and Witnesses (Doc. 186) and
        Defendant Joseph Kupfer’s Third Motion in Limine to Preclude Testimony of Alleged
        “HAVA” Fraud Charged Under Severed Counts 1–8 (Doc. 200).

        The Court took this matter under advisement at the hearing. It is clear that evidence of

the underlying HAVA (“Help America Vote Act”) fraud case is not relevant to the tax evasion

counts with which Defendants are charged, and the Government has represented that it has no

intention of offering Rule 404(b) evidence of fraud or stolen funds. With regard to witnesses

whom Defendants characterize as being proffered for HAVA-related testimony, the Government

objects to being required to describing the testimony for each of these witnesses. The Court

agrees with the Government on this point.

        It seems reasonable to allow the Government to be able to introduce evidence of Mrs.

Kupfer’s purported knowledge of large amounts of money coming into the Secretary of State’s

Office where she worked. However, it is premature for the Court to determine whether any of

this testimony touches impermissibly or unnecessarily on the HAVA contract. For this reason,

the Court DEFERS ruling completely on this motion (including the admissibility of the

Government’s Exhibit 20, the Gutierrez bank account) until the issue arises at trial during the

presentation of testimony.

IX.     Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Evidence of 2003 Taxes
        (Doc. 187).

        The Court DENIED this motion at the hearing, finding that this evidence is relevant to

establish the baseline of Defendants’ income prior to the alleged tax evasion, and to show lack of

                                                 5
        Case 1:10-cr-03383-WJ          Document 273       Filed 07/24/12     Page 6 of 10




mistake. See United States v. Heise, 709 F.2d 449, 451 (6th Cir. 1983), cert. denied, Heise v.

United States, 464 U.S. 918 (1983).

X.      Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Loan Documents and Its
        Corresponding Summary Chart, Listed as Exhibit 4 (Doc. 188)

        The Court DENIED this motion, finding it relevant to Defendants’ knowledge of income

not reported to their Mr. Hess, who prepared their income tax forms. The Court also found that

under the required balancing inquiry under Rule 403, the probative value of this evidence was

not substantially outweighed by the danger of unfair prejudice.

XI.     Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Evidence of New Mexico
        State Criminal Case and Memorandum of Law in Support (Doc. 193).

        The Court DENIED this motion as MOOT, based on the Government’s representation

that it does not intend to present this evidence.

XII.    Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Government’s Exhibits 8 &
        9 (Doc. 194)

        Defendant WITHDREW this motion.

XIII.   Defendant Joseph Kupfer’s Second Motion in Limine to Preclude Testimony Not Within
        Personal Knowledge of Government’s Witnesses (Doc. 199).

        The Court DENIED this motion as MOOT, based on the Government’s representation of

the evidence intends to introduce into evidence.

XIV. Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Government’s Exhibits
     24–27 (Doc. 230).

        Exhibits 24 and 25 relate to Defendants’ houses. Exhibit 26 relates to an investigation

report by Elizabeth Kupfer’s former secretary that handwriting on some checks is Elizabeth

Kupfers. Exhibit 27 is an invoice for a home theatre which Defendants had installed. The

Government stated that it does not intend to present any of these exhibits as evidence, but that


                                                    6
       Case 1:10-cr-03383-WJ          Document 273        Filed 07/24/12       Page 7 of 10



these exhibits have been marked for identification and reference during trial. Based on the

Government’s statements, the Court denies the motion as MOOT at this time, although it may be

revisited during trial.

XV.     Partial Objection to Government’s First Amended Final Exhibit List (Re: Doc. 233), by
        Elizabeth Kupfer (Doc. 235).

        This motion purports to object to exhibits (Exhibits 1-6) which Defendants characterize

as Rule 1006 summary exhibits. The Government states that Exhibits 1-6 constitute the actual

documents and bank records, and are not summaries. The Government, however, noted that it

does intend to introduce other exhibits which would qualify as summary exhibits under 1006,

and also exhibits which are meant for illustrative or pedagogical purposes.

        Defendants advise the Court that they prefer to admit all underlying documents in this

case, including the voluminous bank records. The Court will DEFER ruling on the motion at

this time with reference to specific exhibits, particularly because there seems to be some

confusion about which exhibits qualify as Rule 1006 exhibits, and which do not. However, the

Court makes clear at this time that exhibit presentation to the jury will be kept as clear and

simple as possible, and this necessarily precludes either party from massive document-dumping

on the jury.

XVI. USA’s Objections to Deft Elizabeth Kupfer’s Second Amended Exhibit List (Doc. 252)
     (Doc. 263).

        This motion involves numerous exhibits, which are e-mails and documents dealing with

communications and events that took place after Defendants were charged and, according to the

Government, have to do with efforts the Kupfers made to pay late taxes. Because the Court has

not seen the specific exhibits, the Court DEFERS ruling on this motion until trial.



                                                 7
        Case 1:10-cr-03383-WJ         Document 273        Filed 07/24/12     Page 8 of 10



XVII – Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Government Witness,
Michael Bodelson (Doc. 268).

        Defendant moves to preclude the testimony of Michael Bodelson, who conducted a home

remodeling job for Defendants in 2007. Since the Government states that it will not be bringing

Mr. Bodelson’s testimony into its case-in-chief, the Court DENIES the motion as moot.

XVIII. Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Government’s Exhibit 28
(Doc. 269).

        Defendant moves to exclude Exhibit 28, which include documents pertaining to an

October 2007 financed purchase of a Buick vehicle by Mr. and Mrs. Kupfer. Defendant

contends that the evidence is irrelevant and unduly prejudicial. The Court DEFERS ruling on

this matter until trial.

                                           Conclusion

•       United States’ Consolidated Motions to Compel Discovery, for Daubert Hearings, and to
        Exclude Evidence Pursuant to Federal Rules of Evidence and Federal Rules of Criminal
        Procedure as to Counts 9-11 (Doc. 141): DENIED AS MOOT.

•       Objections to Government’s Proposed Experts (Re: Doc. 58) by Elizabeth Kupfer (Doc.
        82) and Defendant Joseph Kupfer’s Motion for Daubert Hearing and/or, in the
        Alternative, Motion for Rule 16 Disclosure, and/or, in the Alternative, Motion to Exclude
        Proposed Expert Testimony (Doc. 143): Defendants’ objections were overruled: IRS
        agents may testify at trial as fact witnesses under Rule 701; alternatively, even if Agents
        Chavez and O’Rear should be designated and qualified as experts under Rule 16, the
        Government has met its disclosure obligations under Rule 16; Finally, the Court
        concluded that a full-blown Daubert hearing is not necessary in order for the Court to
        fulfill its gatekeeping role under Rule 702.

•       Defendant Elizabeth Kupfer’s Motion in Limine to Preclude Lawrence Hess from
        Testifying as an Expert and to Exclude Exhibits 20 & 21 and Memorandum of Law in
        Support (Doc. 195): Defendants’ motion is DENIED.

•       United States’ Motion in Limine to Preclude Evidence Regarding Possible Sentence or
        Consequences of Conviction (Doc. 197): GRANTED.

•       Defendant Elizabeth Kupfer’s Motion in Limine to Preclude Lawrence Hess from
        Testifying as an Expert and to Exclude Exhibits 20 & 21 (Doc. 195) and Defendant

                                                 8
    Case 1:10-cr-03383-WJ       Document 273       Filed 07/24/12     Page 9 of 10



    Joseph Kupfer’s First Motion in Limine to Preclude Opinion and/or Expert Testimony
    from any Witness Not Previously disclosed as a Possible Expert Witness (Doc. 198):
    DENIED AS MOOT.

•   Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Government’s Exhibit 1 and
    Its Corresponding Summary Exhibit (Doc. 184): DENIED.

•   Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Evidence of Failure to Pay
    State Gross Receipt Taxes, State Income Taxes and Government’s Exhibits 12, 14, 16
    and 17 and Their Corresponding Summary Charts (Doc. 185): DENIED.

•   Defendant Elizabeth Kupfer’s Amended Omnibus Motion in Limine to Exclude Evidence
    Regarding the HAVA Contract, Related Exhibits and Witnesses (Doc. 186) and
    Defendant Joseph Kupfer’s Third Motion in Limine to Preclude Testimony of Alleged“
    HAVA” Fraud Charged Under Severed Counts 1–8 (Doc. 200): Ruling is DEFERRED
    on this motion until the issue arises at trial during the presentation of testimony

•   Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Evidence of 2003 Taxes
    (Doc. 187): DENIED.

•   Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Loan Documents and Its
    Corresponding Summary Chart, Listed as Exhibit 4 (Doc. 188): DENIED.

•   Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Evidence of New Mexico
    State Criminal Case and Memorandum of Law in Support (Doc. 193): DENIED AS
    MOOT.

•   Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Government’s Exhibits 8 &
    9 Doc. 194): motion WITHDRAWN.

•   Defendant Joseph Kupfer’s Second Motion in Limine to Preclude Testimony Not Within
    Personal Knowledge of Government’s Witnesses (Doc. 199): DENIED AS MOOT.

•   Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Government’s Exhibits
    24–27 (Doc. 230): DENIED AS MOOT at this time.

•   Partial Objection to Government’s First Amended Final Exhibit List (Re: Doc. 233), by
    Elizabeth Kupfer (Doc. 235): Ruling DEFERRED.

•   USA’s Objections to Deft Elizabeth Kupfer’s Second Amended Exhibit List (Doc. 252)
    (Doc. 263): Ruling DEFERRED.

•   Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Government Witness,
    Michael Bodelson (Doc. 268): DENIED AS MOOT.


                                           9
    Case 1:10-cr-03383-WJ     Document 273      Filed 07/24/12    Page 10 of 10



•   XVII – Defendant Elizabeth Kupfer’s Motion in Limine to Exclude Government
    Witness, Michael Bodelson (Doc. 268): DEFERRED until trial.

    SO ORDERED.




                                      UNITED STATES DISTRICT JUDGE




                                        10
